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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                                    CASE NO. 19-61324-CIV-DIMITROULEAS

SCOTT THOMAS,

       Plaintiff,

vs.

BROWARD COUNTY SHERRIFF’S
OFFICE,

      Defendant.
___________________________________/

                                       FINAL JUDGMENT


       THIS CAUSE is before the Court upon the Trial conducted January 24-27, 2022 and the

Jury Verdict of January 27, 2022.


       Accordingly, it is ORDERED AND ADJUDGED as follows:


       1.      Judgment is entered in favor of Plaintiff SCOTT THOMAS and against

               Defendant BROWARD COUNTY SHERRIFF’S OFFICE in the amount of

               $240,000, plus post judgment interest at the legal rate, for which let execution

               issue.

       2.      The Clerk shall CLOSE this case and DENY any pending motions as moot.

       DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida,

this 27th day of January, 2022.
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Copies furnished to:
Counsel of Record
